      Case 2:10-cv-02751-ROS Document 16 Filed 01/21/11 Page 1 of 2



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Sean P. Custer; Kathryn A. Custer,       )   No. CV-10-02751-PHX-ROS
                                              )
10              Plaintiffs,                   )   ORDER
                                              )
11   vs.                                      )
                                              )
12                                            )
     Knight Refrigerated LLC; et. al.,        )
13                                            )
                Defendants.                   )
14                                            )
                                              )
15
16         On December 21, 2010, Defendants removed this action to federal court based on
17   federal question “arising under” jurisdiction.   (Doc. 1).    The only claim supporting
18   jurisdiction was Count Nine, which was a claim for unpaid overtime governed by the Fair
19   Labor Standards Act (“FLSA”). Plaintiffs moved to remand (Doc. 6) and to amend the
20   Complaint to delete Count Nine. (Doc. 7). Further, Plaintiffs proposed to dismiss Count
21   Nine with prejudice. (Doc. 11).1 On January 20, 2011, Plaintiffs’ motion to amend (Doc.
22   7) was granted, and Count Nine for unpaid overtime wages was dismissed with prejudice.
23   (Doc. 14). Also on January 20, 2011, Plaintiffs filed their amended complaint. (Doc. 15).
24         Upon dismissal of the only federal claim supporting federal jurisdiction, a court may
25   remand the case to state court. Baddie v. Berkeley Farms Inc., 64 F.3d 487, 491 (9th Cir.
26
27
           1
                  Defendants continue to argue against remand, but asserted dismissal with
28   prejudice was the only acceptable scenario for remand. (Doc. 9).
       Case 2:10-cv-02751-ROS Document 16 Filed 01/21/11 Page 2 of 2



 1   1995). Plaintiffs’ choice to forego their federal claims in favor of a state forum is supported
 2   by case law.2 At this early stage in the litigation, the Court exercises its discretion to remand
 3   to state court due to the dismissal with prejudice of the sole federal claim supporting federal
 4   jurisdiction. Baddie, 64 F.2d at 409.
 5          Accordingly,
 6          IT IS ORDERED Plaintiffs’ motion for remand (Doc. 6) is GRANTED.
 7          DATED this 21st day of January, 2011.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22          2
                     “If the defendant . . . removes the action, the plaintiff must then choose
23   between federal claims and a state forum.” Baddie, 64 F.2d at 491; Schuster v. Gardner, 319
     F. Supp. 2d 1159, 1165 (S.D. Cal. 2003) (“Here, the plaintiff filed an amended complaint that
24   clarified his intent to bring only state claims and by doing so waived his ability to pursue a
25   federal claim.”) (emphasis added); Stuart v. City of Dillon, No. CV-08-12-BU-RFC, 2008
     WL 3887656, at *4 (D. Mont. Aug. 21, 2008) (noting that under Baddie a “plaintiff may
26   amend claims in an action removed to federal court by dismissing federal claims, thereby
27   waiving his ability to pursue the federal claims”) (citing Schuster); Head v. Medford, 62
     F.3d 351, 356 (11th Cir. 1995); see also (Doc. 9, at 6-7) (citing case law regarding Court’s
28   discretion).

                                                   -2-
